
PER CURIAM.
AFFIRMED. See Hernandez v. Tallahassee Med. Ctr., Inc., 896 So.2d 839, 843 (Fla. 1st DCA 2005) ("[T]he law is well established that an employee driving to and from work is not within the scope of employment so as to impose liability on the employer." (citing Foremost Dairies, Inc. of the South v. Godwin, 158 Fla. 245, 26 So.2d 773 (Fla. 1946) ; Freeman v. Manpower, Inc., 453 So.2d 208, 209 (Fla. 1st DCA 1984) ) ).
EVANDER, C.J. , GROSSHANS and SASSO, JJ., concur.
